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   IT IS ORDERED as set forth below:



   Date: July 3, 2018
                                              _________________________________

                                                        Paul W. Bonapfel
                                                  U.S. Bankruptcy Court Judge
  _______________________________________________________________
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